OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No:      3:93CR167-08
                 DONALD EUGENE W ALKER
                                                                       )   USM No: 10592-058
Date of Previous Judgment: 05/31/1994                                  )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                                                            Count 1: 135,
                                                            Count 12: 60, consecutive,                        time served, plus 10
                             the last judgment issued) of   195 months total             months is reduced to days                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33               Amended Offense Level:                                          31
Criminal History Category: I                Criminal History Category:                                      I
Previous Guideline Range: 135 to 168 months Amended Guideline Range:                                        120       to 135   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry
Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.



Except as provided above, all provisions of the judgment dated 05/31/1994                          shall remain in effect.
IT IS SO ORDERED.

Order Date:        May 27, 2008


Effective Date:
                     (if different from order date)

                 Case 3:93-cr-00167-GCM                     Document 224              Filed 05/27/08      Page 1 of 2
Case 3:93-cr-00167-GCM   Document 224   Filed 05/27/08   Page 2 of 2
